23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 1 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 2 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 3 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 4 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 5 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 6 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 7 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 8 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 9 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 10 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 11 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 12 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 13 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 14 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 15 of 16
23-49817-mar   Doc 116   Filed 04/25/24   Entered 04/25/24 18:59:59   Page 16 of 16
